  18-01370-smb          Doc 5      Filed 06/14/18     Entered 06/14/18 14:42:02       Main Document
                                                     Pg 1 of 1

                            UNITED STATES BANKRUPTCY COURT
                                         Southern District of New York
 In re:
                                                             Chapter 11
 SUNEDISON, INC., et al.,
                                                             Case No. 16-10992 (SMB)
            Reorganized Debtors.
                                                             (Jointly Administered)
 SUNEDISON LITIGATION TRUST,

                            Plaintiff,                       Adv. Pro. No. 18-01370 (SMB)
          -against-

 PURE POWER SYSTEMS, INC.,
                  Defendant.

          SECOND SUMMONS AND NOTICE OF PRETRIAL CONFERENCE IN AN
                         ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of service of this summons, except
that the United States and its offices and agencies shall submit a motion or answer to the complaint within 35
days, to:
          Clerk of the Court
          United States Bankruptcy Court, Southern District of New York
          One Bowling Green
          New York, New York 10004-1408

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s
attorney.
           David R. Hurst
           Daniel F.X. Geoghan
           Cole Schotz P.C.
           1325 Avenue of the Americas, 19th Floor
           New York, New York 10019
If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint
will be held at the following time and place:
   United States Bankruptcy Court                         Room: Courtroom 723 (SMB), One Bowling Green
   Southern District of New York                          New York, NY 10004-1408
   One Bowling Green
   New York, New York 10004-1408                          Date and Time: To Be Determined


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN
THE COMPLAINT.

Dated: 6/14/2018                                                Vito Genna
                                                                Clerk of the Bankruptcy Court

                                                                 /s/ Carmen Ortiz
                                                                 Deputy Clerk
57533/0001-15981131v1
